

J-

I am dearly of opinion, that the decree in this case ought to be set aside, and a new trial granted.
The law, previous to the year 1798, was, as Judge Brevard eventually decreed in this case. But the act of December, 3798, altered the old law upon this subject, and made bonds, bills, and notes, and which were not negotiable in their nature, assignable ; and empowered the assignee to bring suit, and recover the same in his own name.
Now, it is evident that if the assignee of such a bond, bill, or note, can recover in his own name as assignee, and appropriate the money to his own use, he may, when sued, offer it in evidence by way of discount, because, when it is assigned, it then becomes a matter in his own right, which comes clearly under the discount law.
Grimke, J., concurred.
Colcock, J.
This case was tried at the same time with the case of E. Farmer v. Baker and Leach. I consent to the motion for the same reasons which governed me in that case.
Smith, J.
The only difference between this case and the case of E. Farmer v. Baker and Leach, is that that case was founded on the bill, and here the bill was offered in discount. I am also of opinion, that a new trial should be granted in this case.
